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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

Arica Waters,                                     *      Case No.: 3:22-cv-01182-JRK
                                                  *
       Plaintiff,                                 *      Judge James R. Knepp, II
                                                  *
       vs.                                        *      ANSWER OF DEFENDANTS AMY
                                                  *      GLOOR AND STEPHEN LEVORCHICK
Amy Gloor, et al.                                 *
                                                  *
       Defendants.                                *

                              ****************
       Defendants Amy Gloor and Stephen Levorchick, for the Answer to Plaintiff’s Complaint,

do hereby state and aver as follows:

       1.        The allegations of Paragraph 1 of the Complaint state the basis for this Court’s

jurisdiction. Defendants do not dispute that jurisdiction in this Court is appropriate.

       2.        Defendants deny the allegations of Paragraph 2 of the Complaint in that no

constitutional rights of Plaintiff have been violated.

       3.        Defendants deny the allegations of Paragraph 3 of the Complaint in that that

Plaintiff is not entitled to damages or attorney fees because her constitutional rights have not

been violated.

       4.        Defendants admit that the Court has supplemental jurisdiction over state law

claims pled in the Complaint.

       5.        Defendants admit the allegations concerning personal jurisdiction set forth in

Paragraph 5 of the Complaint.
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        6.       Defendants admit the allegations concerning personal jurisdiction set forth in

Paragraph 6 of the Complaint.

        7.       The allegations of Paragraph 7 of the Complaint state the basis for venue in this

judicial district. Defendants do not dispute that venue in this Court is appropriate.

        8.       Upon information and belief, Defendants admit the allegations of Paragraph 8 of

the Complaint.

        9.       Defendants admit the allegations of Paragraph 9 of the Complaint.

        10.      Defendants admit that, at the time of the events in question, Defendant Gloor was

employed as a detective sergeant at the Ottawa County Sheriff’s office, but deny that the events

gave rise to any violation of Plaintiff’s constitutional rights.

        11.      Defendants admit the allegations of Paragraph 11 of the Complaint.

        12.      Defendants admit that Defendant Levorchick is the elected Sheriff of Ottawa

County, Ohio and admit he held that office at the time of the events in question, but they deny

that the events gave rise to any violation of Plaintiff’s constitutional rights.

        13.      Responding to the allegations of Paragraph 13 of the Complaint, Defendants

admit that Plaintiff made a report of a sexual assault to Defendant Amy Gloor on July 7, 2020.

Further pleading, Defendants state that Plaintiff was later indicted by a Grand Jury on felony and

misdemeanor charges of making false alarms arising from the report of a sexual assault made by

Plaintiff to Defendant Gloor.

        14.      Defendants admit that Plaintiff consented to a forensic download of her phone to

be conducted by a detective of the Port Clinton Police Department, but otherwise deny the

allegations of Paragraph 14 of the Complaint. Further pleading, Defendants state that the

written “Voluntary Consent for Forensic Search of Computer/Phone/Electronic Device/Digital




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media” (copy attached as Exhibit A) did not limit the forensic search to the “investigation into

the sexual assault,” or indicate that the extent was given to “further the [sexual assault]

investigation” as alleged in Paragraph 14 of the Complaint.

       15.     Defendants deny the allegations of Paragraph 15 of the Complaint. Further

pleading, Defendants state that Plaintiff’s boyfriend -- but not Plaintiff -- told Defendant Gloor

during the investigation of Plaintiff’s allegations of a sexual assault that Plaintiff’s phone

contained private conversations between himself and Plaintiff but he made no mention of photos.

Moreover, during the investigation it was discovered that Plaintiff used her phone to upload

explicit photos of herself to internet pornography websites, negating any privacy claim, which

Plaintiff had not asserted in any event.

       16.     Defendants deny the allegations of the first sentence of Paragraph 16 of the

Complaint. Defendants admit the allegations of the second sentence of Paragraph 16 of the

Complaint, in that Defendant Gloor informed Plaintiff’s boyfriend that there was an interest in

seeing the messages exchanged between Plaintiff and the alleged perpetrator.

       17.     Defendants admit that the phone was downloaded using the Cellebrite program,

and admit that during the investigation, the contents were accessible to Gloor, but otherwise deny

the allegations of this paragraph, in that Defendant Gloor did not and does not retain the

downloaded materials. Those materials did not remain and are not currently in the possession of

the Defendants.

       18.     Defendants admit that a Grand Jury indicted Plaintiff on felony and misdemeanor

charges of making false alarms, and that Plaintiff was not convicted of the charges.

       19.     Defendants deny the allegations of Paragraph 19 of the Complaint. In fact,

explicit photos from Plaintiff’s phone played a role in the criminal case, in that such photos were




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relevant to the investigation into the false alarm charges, and were part of the evidence which

showed Plaintiff’s pattern and practice of making similar sexual abuse allegations against other

alleged perpetrators. Moreover, Defendants lack knowledge of what Rule 16 discovery was

exchanged between the attorneys in that case.

       20.     Defendants deny the allegations of Paragraph 20 of the Complaint. To the

contrary, prior to the forensic examination of the phone, Plaintiff shared explicit photos of

herself with third parties and with internet pornography sites.

       21.     Defendants deny the allegations of Paragraph 21 of the Complaint, in that neither

of the Defendants distributed any explicit photos of Plaintiff to third parties.

       22.     Defendants deny the allegations of Paragraph 22 of the Complaint. Further

pleading, Defendants state that Gloor trained Deputy Davenport on certain computer imaging

backtracking techniques which are used in investigations, and an image from Plaintiff’s case may

have been momentarily visible -- for a matter of a couple seconds -- as part of that training. It is

false and misleading for Plaintiff to state that Gloor “shared” explicit photos of Plaintiff with

Davenport, and that allegation is denied.

       23.     Defendants deny the allegations of Paragraph 23 of the Complaint. Further

pleading, Defendants state that Gloor discussed the sexual assault investigation with the Sheriff

who was her superior officer, and during the discussion informed him that Plaintiff had uploaded

images of herself to pornography web sites, and in that discussion an image of Plaintiff was

momentarily visible. It is false and misleading to imply that Gloor “shared” any photos with

Levorchick, and false and misleading to imply that any images the Sheriff may have seen were

those of Plaintiff with her boyfriend.




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        24.    Defendants deny the allegations of Paragraph 24 of the Complaint in that

Defendant Gloor did nothing during the investigation that was inappropriate or warranted

discipline.

        25.    Defendants admit that a member of the media inquired about the sexual assault

investigation. In explaining why the investigation had not produced charges against the alleged

perpetrator, Defendant Levorchick made reference to Plaintiff’s actions of uploading images of

herself to internet porn sites and commented on that. All allegations of Paragraph 25 of the

Complaint inconsistent with this statement are denied.

        26.    Defendants deny the allegations of Paragraph 26 of the Complaint. Further

pleading, Defendants state that when training Deputy Davenport on certain computer imaging

backtracking techniques which are used in investigations, an image from Plaintiff’s case may

have been momentarily visible -- for a matter of a couple seconds -- as part of that training. It is

false and misleading for Plaintiff to state that Gloor “shared” explicit photos of Plaintiff with

Davenport.

        27.    Defendants lack knowledge sufficient to form a belief as to the truth or falsity of

the allegations set forth in Paragraph 27 of the Complaint, and on that basis they are denied.

        28.    Defendants deny the allegations of Paragraph 28 of the Complaint.

        29.    Defendants deny the allegations of Paragraph 29 of the Complaint in that no

invasion of Plaintiff’s privacy took place.

        30.    Defendants deny the allegations of Paragraph 30 of the Complaint.

        31.    Defendants deny the allegations of Paragraph 31 of the Complaint.




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        32.     The allegations of Paragraph 32 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 32 of the Complaint are denied.

        33.     The allegations of Paragraph 33 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 33 of the Complaint are denied.

        34.     The allegations of Paragraph 34 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 34 of the Complaint are denied.

        35.     Defendants deny the allegations of Paragraph 35 of the Complaint.

        36.     The allegations of Paragraph 36 of the Complaint are unduly vague, in that they

do not allege when and under what circumstances Defendants were acting under color of law.

Because the allegations of the Complaint are too vague to be admitted, they are denied.

        37.     Defendants deny the allegations of Paragraph 37 of the Complaint in that Plaintiff

suffered no invasion of privacy. The explicit photos which Plaintiff chose to make public by

uploading them to internet pornography sites were not “re-distributed” by the Defendants.

        38.     Defendants incorporate their admissions, denials and responses to Paragraphs 1-

37 as if fully rewritten herein.

        39.     The allegations of Paragraph 39 of the Complaint state vague conclusions of law.

To the extent the allegations accurately state controlling law they are admitted; otherwise, they

are denied.

        40.     Defendants deny the allegations of Paragraph 40 of the Complaint because they

imply that Defendant Gloor “showed” explicit photos of Plaintiff to Deputy Davenport for




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prurient interests, which did not occur. To the extent that Davenport momentarily may have

glimpsed an image while being trained by Gloor, Defendants admit that Gloor engaged in the

training while acting under color of law.

        41.     Defendants deny the allegations of Paragraph 41 of the Complaint.

        42.     The allegations of Paragraph 42 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 42 of the Complaint are denied.

        43.     Defendants deny the allegations of Paragraph 43 of the Complaint.

        44.     Defendants deny the allegations of Paragraph 44 of the Complaint.

        45.     Defendants deny the allegations of Paragraph 45 of the Complaint.

        46.     Defendants deny the allegations of Paragraph 46 of the Complaint.

        47.     Defendants deny the allegations of Paragraph 47 of the Complaint.

        48.     Defendants deny the allegations of Paragraph 48 of the Complaint.

        49.     Defendants deny the allegations of Paragraph 49 of the Complaint.

        50.     Defendants deny the allegations of Paragraph 50 of the Complaint.

        51.      Defendants incorporate their admissions, denials and responses to Paragraphs 1-

51 as if fully rewritten herein.

        52.     The allegations of Paragraph 52 of the Complaint state vague conclusions of law.

To the extent the allegations accurately state controlling law they are admitted; otherwise, they

are denied.

        53.     Defendants deny the allegations of Paragraph 53 of the Complaint.

        54.     Defendants deny the allegations of Paragraph 54 of the Complaint.




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        55.     The allegations of Paragraph 55 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 55 of the Complaint are denied.

        56.     Defendants deny the allegations of Paragraph 56 of the Complaint.

        57.     Defendants deny the allegations of Paragraph 57 of the Complaint.

        58.     Defendants deny the allegations of Paragraph 58 of the Complaint.

        59.     Defendants deny the allegations of Paragraph 59 of the Complaint.

        60.     Defendants deny the allegations of Paragraph 60 of the Complaint.

        61.     Defendants deny the allegations of Paragraph 61 of the Complaint.

        62.     Defendants incorporate their admissions, denials and responses to Paragraphs 1-

61 as if fully rewritten herein.

        63.     The allegations of Paragraph 63 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 63 of the Complaint are denied.

        64.     Defendants deny the allegations of Paragraph 64 of the Complaint.

        65.     Defendants deny the allegations of Paragraph 65 of the Complaint.

        66.     Defendants deny the allegations of Paragraph 66 of the Complaint.

        67.     Defendants deny the allegations of Paragraph 67 of the Complaint.

        68.     Defendants deny the allegations of Paragraph 68 of the Complaint.

        69.     Defendants deny the allegations of Paragraph 69 of the Complaint.

        70.     Defendants deny the allegations of Paragraph 70 of the Complaint.

        71.     Defendants incorporate their admissions, denials and responses to Paragraphs 1-

70 as if fully rewritten herein.




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        72.     The allegations of Paragraph 72 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 72 of the Complaint are denied.

        73.     The allegations of Paragraph 73 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 73 of the Complaint are denied.

        74.     The allegations of Paragraph 74 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 74 of the Complaint are denied.

        75.     Defendants deny the allegations of Paragraph 75 of the Complaint.

        76.     Defendants deny the allegations of Paragraph 76 of the Complaint.

        77.     Defendants deny the allegations of Paragraph 77 of the Complaint.

        78.     Defendants deny the allegations of Paragraph 78 of the Complaint.

        79.     Defendants deny the allegations of Paragraph 79 of the Complaint.

        80.     Defendants deny the allegations of Paragraph 80 of the Complaint.

        81.     Defendants deny the allegations of Paragraph 81 of the Complaint.

        82.     Defendants deny the allegations of Paragraph 82 of the Complaint.

        83.     Defendants deny the allegations of Paragraph 83 of the Complaint.

        84.     Defendants incorporate their admissions, denials and responses to Paragraphs 1-

84 as if fully rewritten herein.

        85.     The allegations of Paragraph 85 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 85 of the Complaint are denied.




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        86.     The allegations of Paragraph 86 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 86 of the Complaint are denied.

        87.     Defendants deny the allegations of Paragraph 87 of the Complaint.

        88.     Defendants deny the allegations of Paragraph 88 of the Complaint.

        89.     Defendants deny the allegations of Paragraph 89 of the Complaint.

        90.     Defendants deny the allegations of Paragraph 90 of the Complaint.

        91.     Defendants deny the allegations of Paragraph 91 of the Complaint.

        92.     Defendants deny the allegations of Paragraph 92 of the Complaint.

        93.     Defendants deny the allegations of Paragraph 93 of the Complaint.

        94.     Defendants deny the allegations of Paragraph 94 of the Complaint.

        95.     Defendants incorporate their admissions, denials and responses to Paragraphs 1-

95 as if fully rewritten herein.

        96.     The allegations of Paragraph 96 of the Complaint state vague conclusions of law

with no legal citations. Because Plaintiff seeks to improperly apply those conclusion of law to

the facts of this case, the allegations of Paragraph 96 of the Complaint are denied.

        97.     Defendants deny the allegations of Paragraph 97 of the Complaint.

        98.     Defendants deny the allegations of Paragraph 98 of the Complaint.

        99.     Defendants deny the allegations of Paragraph 99 of the Complaint.

        100.    Defendants deny the allegations of Paragraph 100 of the Complaint.

        101.    Defendants deny the allegations of Paragraph 101 of the Complaint.

        102.    Defendants deny the allegations of Paragraph 102 of the Complaint.

        103.    Defendants deny the allegations of Paragraph 103 of the Complaint.




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        104.    Defendants deny the allegations of Paragraph 104 of the Complaint.

        105.    Defendants deny the allegations of Paragraph 105 of the Complaint.

        106.    Defendants deny the allegations of Paragraph 106 of the Complaint.

        107.    Defendants deny the allegations of Paragraph 107 of the Complaint.

        108.    Defendants deny the allegations of Paragraph 108 of the Complaint.

        109.    Defendants deny that Plaintiff is entitled to the judgment and damages sought in

Paragraph 109 of the Complaint.

        110.    Defendants deny that Plaintiff is entitled to the judgment and damages sought in

Paragraph 110 of the Complaint.

        111.    Defendants deny that Plaintiff is entitled to the attorney fees and costs sought in

Paragraph 111 of the Complaint.

        112.    Defendants deny that Plaintiff is entitled to the attorney fees and costs sought in

Paragraph 112 of the Complaint.

        113.    Defendants deny that Plaintiff is entitled to any relief whatsoever.

        114.    Defendants acknowledge that Plaintiff has requested trial by jury on issues which

are triable by a jury.

                               FIRST AFFIRMATIVE DEFENSE

        115.    The Complaint may fail to state a claim or claims for which relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

        116.    The claims against the Defendants are barred because Defendants are entitled to

various forms of immunity which include, but may not be limited to, qualified immunity,

absolute immunity, prosecutorial or quasi-prosecutorial immunity, immunity under Ohio Rev.




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Code Chapter 2744, common law immunity, and any and all other forms of immunity which may

apply to the facts of this case.

                                THIRD AFFIRMATIVE DEFENSE

          117.   Plaintiff’s claims are barred by the doctrines of waiver, estoppel, laches, or the

applicable statutes of limitation.

                              FOURTH AFFIRMATIVE DEFENSE

          118.   Plaintiff’s claims are barred by the doctrine, and fact of, consent.

                                FIFTH AFFIRMATIVE DEFENSE

          119.   Plaintiff held no reasonable, genuine or legitimate expectation of privacy in the

contents of her phone generally, or in the contents of the photographic images upon which she

bases her claims, and no images of Plaintiff were, in fact, distributed to the public or any third

party.

                                SIXTH AFFIRMATIVE DEFENSE

          120.   No act or omission by Defendants caused by Plaintiff to suffer deprivation of a

constitutionally-protected right.

                              SEVENTH AFFIRMATIVE DEFENSE

          121.   Plaintiff held no informational privacy right in the existence of images which she

had previously made public.

                               EIGHTH AFFIRMTIVE DEFENSE

          122.   Defendants did not benefit and had no intent to benefit from any acts they may

have taken concerning Plaintiff.




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                              NINTH AFFIRMATIVE DFEENSE

       123.    Defendants’ conduct concerning Plaintiff was reasonable, and taken for legitimate

and compelling law enforcement or other public purposes.

                              TENTH AFFIRMATIVE DEFENSE

       124.    Defendants’ actions are protected by a qualified and/or absolute privilege.

                           ELEVENTH AFFIRMATIVE DEFENSE

       125.    Any statements Defendants may have made about Plaintiff are constitutionally

protected opinions.

                           TWELFETH AFFIRMATIVE DEFENSE

       126.    No actions of Defendants proximately caused Plaintiff to suffer damages.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       127.    Defendants deny all allegations contained in the Complaint which are not

expressly admitted.

                           FOURTEENTH AFFIRMTIVE DEFENSE

       128.    Defendants reserve the right to assert additional defenses which may arise during

further investigation or discovery.

       WHEREFORE, Defendants pray that Plaintiff’s Complaint be dismissed with prejudice

and that she be ordered to pay all costs of this action.

                                                       Respectfully submitted,

                                                       SPENGLER NATHANSON P.L.L.
                                                       /s/Teresa L. Grigsby, Esq.
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                                                       Toledo, OH 43604-2622
                                                       Telephone: 419-241-2201

                                                       Attorney for Defendants




                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 12th day of August, 2022, a copy of the foregoing instrument

was filed electronically with the Court’s electronic filing system. Notice of this filing will be sent

by operation of the Court’s electronic filing system to all parties indicated on the electronic filing

receipt.

                                                       /s/ Teresa L. Grigsby
                                                       Teresa L. Grigsby


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